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                              UNITED STATES DISTRICT COURT

                                   DISTRICT OF NEVADA

                                              ***
                                               )
UNITED STATES OF AMERICA,                      )        CASE NO. 2:21-cr-00111-RFB-NJK
                                               )
                 Plaintiff,                    )
                                               )
   v.
                                               )             VIDEO TELECONFERENCE &
MELVIN JOHNSON,                                )              TELEPHONE CONFERENCE
                                               )                APPEARANCE ORDER
                      Defendant.               )
                                               )



        In Response to General Order 2020-5 by the Chief Judge of this District in which she has
specifically authorized video teleconferences and telephone conferences pursuant to Section
15002(b) of the CARES Act, this Court has reviewed the record in this case and finds pursuant to
Section 15002(b) that delay of the Sentencing Hearing until an in-person hearing can be safely
arranged would do harm to the interests of justice as the Defendant could be subject to a
longer period of pretrial detention and incarceration.

      Accordingly,
      IT IS ORDERED that a Video Sentencing Hearing is set for November 4, 2021 at 11:45
AM in LV Courtroom 7C before Judge Richard F. Boulware, II.

        IT IS FURTHER ORDERED that the parties shall submit any relevant
written submissions, including but not limited to stipulations, motions, plea documents,
waivers or sentencing memoranda, regarding this hearing at least One Day prior to the
hearing set in this Order. If such a submission is a sentencing memorandum, the parties
shall include their own position on the criminal history of the individual to be sentenced.

       IT IS FURTHER ORDERED that members of the public seeking to have access to this
hearing must, prior to the day of the hearing, contact the Court by email to request access to and
receive permission to listen this hearing by telephone. Members of the public granted such access
must join the remote proceedings prior to their official commencement. Once a remote proceeding
has begun, no access will be granted to the proceeding.

        IT IS FURTHER ORDERED that no one or entity or organization, including but
not limited to counsel, counsel’s agents or staff, the Defendant, law enforcement agents/
officers, members of the public, who participate in or listen to this proceeding may record it in
any manner. Any individual, entity or organization that records this proceeding without written
authorization of the Court shall be subject to civil and/or criminal contempt penalties by this
Court.
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        IT IS FURTHER ORDERED that defense counsel shall provide all necessary documents
to the defendant in advance of the hearings, including the waiver of in person appearance form
attached to this order.

       IT IS FURTHER ORDERED that defense counsel shall contact the Courtroom
Administrator at “blanca_lenzi@nvd.uscourts.gov” or (702) 464-5470 with information on how
the defendant will participate in the video conference. If the defendant will be appearing at the
hearing using his/her own equipment, the defense counsel must confirm with the Courtroom
Administrator that the defendant’s equipment is compatible with the Court’s conference
technology. Defense counsel must also provide the defendant’s email address to facilitate the
remote connection and the defendant’s phone number in the event of any technical difficulties.

        IT IS FURTHER ORDERED that the parties shall file any necessary signed documents at
least the morning of the scheduled hearing consistent with General Order 2020-05.



       DATED: November 1, 2021.


                                                    __________________________________
                                                    RICHARD F. BOULWARE, II
                                                    UNITED STATES DISTRICT JUDGE
